
597 So.2d 1020 (1992)
STATE ex rel. Bruce DEVERNEY
v.
John P. WHITLEY, Warden, Louisiana State Penitentiary.
No. 91-KH-1152.
Supreme Court of Louisiana.
May 1, 1992.
Granted in part; not considered in part. As to relator's claim of ineffective assistance of counsel on appeal, the district court is ordered to grant relator an out-of-time appeal and to appoint counsel to handle the appeal on relator's behalf. See, Lofton v. Whitley, 905 F.2d 885 (5th Cir.1990); State v. Robinson, 590 So.2d 1185 (La.1992). If appointed counsel, after reviewing the record, finds no basis for assigning error on appeal, he may follow the procedure outlined in State v. Benjamin, 573 So.2d 528 (La.App. 4th Cir.1990). As to relator's other claims, they are prematurely before this Court and not considered. La.C.Cr.P. 924.1.
